                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                              DOCKET NO. 3:94-cr-107-2FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
                   v                             )
                                                 )
                                                 )                   ORDER
 LARRY CHISHOLM,                                 )
                                                 )
                 Defendant.                      )


         THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 72 ) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine sentencing

guidelines. Defendant’s motion is DENIED. Defendant was sentenced under the new guideline

range.

         IT IS SO ORDERED.

                                                Signed: October 13, 2009




         Case 3:94-cr-00107-FDW        Document 86        Filed 10/13/09     Page 1 of 1
